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                        IN THE       UNITED    STATES         DISTRICT      COURT
                       FOR THE        EASTERN DISTRICT              OF VIRGINIA
                                          Richmond Division



UNITED       STATES   OF AMERICA


v.                                                           Criminal No.          3:10CR3 08-25



JOSE   FRANCISCO        RUIZ-SANCHEZ


       Defendant.



                               SENTENCING           GUIDELINE        ORDER


        1.     The sentencing hearing shall be scheduled no earlier than


SEVENTY-FIVE          (75)    DAYS        following      a    finding      or   verdict        of   guilty,


and sentencing is scheduled in this case on (JluuT&s <^-*1) ^^t f
at     3-36 A^.
        2.     Counsel       for     the    defendant         shall   attend any             interview of


the    defendant       conducted by           the    Probation        Office       in    the    course   of


the presentence          investigation.


        3.     The presentence investigation report,                            including guideline


computations,          shall       be     completed      and       provided       to    the    parties   at


least THIRTY-FIVE             (35)      DAYS prior to the sentencing hearing.                          This


Order    shall        operate        as    notice     to      counsel       that       the    presentence

investigation          report        will    be     available         in    the    Probation         Office

THIRTY-FIVE           (35)    DAYS        prior     to       the    sentencing          hearing.         The


presentence investigation report shall not be disclosed to persons

other    than the defendant,                unless       otherwise         ordered by         the   Court.


        4.     At     least    TWENTY-ONE           (21)      DAYS    prior       to    the    sentencing

hearing,       the parties must state                in writing to the Probation Office
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and    opposing          counsel          any       objections          to      the        presentence

investigation report, including objections to material information,

sentencing guideline ranges,                    and policy statements contained in or

omitted from the report.


       5.    Any       party      objecting         to   the   presentence               investigation

report must        seek resolution of               all objections           in conference with

opposing counsel and the Probation Office as soon as possible,                                          but

no later than SEVENTEEN                (17)     DAYS prior to the sentencing hearing.

The presentence conference                   is mandatory,         except when the contents

of the presentence investigation report are not in dispute, and the

complaining           party       shall       be    responsible           for      scheduling           the

conference with the Probation Office and opposing counsel.

       6.   Counsel         for    the    defendant and the government                        shall    file

and serve sentencing pleadings                     (as defined in paragraph 7)                  FOURTEEN

(14)   DAYS prior to the sentencing hearing.                            Responses and replies

thereto     shall      be    filed     and      served   SEVEN      (7)      and   FOUR        (4)    days,

respectively,         prior       to   the      sentencing     hearing.            Copies      shall     be

delivered to the Probation Office on the same schedule.

       7.    The      sentencing         pleadings       shall     include         (1)    a    statement

that   there     are        no   objections         to   the   presentence               investigation

report,     if     applicable;            (2)      notice    of    any       objections          to     the

presentence        investigation              report     and      any   supporting             evidence,

documents,       or    affidavits;           (3)   any motion       for      upward       or    downward

departure or motion for variance sentence.                          The Court shall resolve

objections and motions upon the submissions of                               the parties and
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will hear         testimony only      for good cause          shown.


        8.     The    Probation      Office        shall   transmit       to    the    sentencing


judge    the      presentence       investigation          report,     including        guideline


computations and an addendum indicating any unresolved objections,

no   later than FOURTEEN            (14)    days prior       to   the sentencing hearing.


        9.     The   time periods          set    forth above may be modified by the

Court for good cause shown.                 Time periods under this Order shall be

CALENDAR days.          In computing any period of                 time under this Order,

if   any     deadline       falls   on      a    Saturday,    Sunday,       or   holiday,     the


deadline       shall   be    the    last        business   day    prior    to    the    Saturday,

Sunday,      or holiday.


        It   is    SO ORDERED.


                                                                    /a/
                                                       Dennis W. Dohnal
                                                       United States Magistrate Judge

Richmond,         Virginia


      : MAR 2 8 2011

I HEREBY ACKNOWLEDGE RECEIPT OF A COPY OF THE                        SENTENCING GUIDELINE
ORDER.




Counsel for the Defendant*                                   ^7Date



Counsel for the united States                                 '    ' Date




* Counsel         for the Defendant         shall    send a copy of        this Order to the
Defendant
